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                                                     5   Attorneys for Defendant
                                                         ARICELA VILLA
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                                                     7                                 IN THE UNITED STATES DISTRICT COURT

                                                     8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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                                                    10   UNITED STATES OF AMERICA,                             Case No. 2:07-CR-515-07 WBS

                                                    11                    Plaintiff,                           STIPULATION AND
                                                                                                               [PROPOSED] ORDER
                                                    12            v.
B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




                                                    13   ARICELA VILLA,                                        Date: August 13, 2012
                            A TTORNEYS A T L AW




                                                                                                               Time: 9:30 a.m.
                                                    14                    Defendant.                           Judge: Honorable William B. Schubb

                                                    15

                                                    16                    It is hereby stipulated and agreed to between the United States of America through

                                                    17   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                    18   Kresta Nora Daly, that the sentencing set for August 13, 2012 be vacated and that a new

                                                    19   sentencing date be set for November 13, 2012 at 9:30 a.m.

                                                    20   Dated: August 8, 2012.                   Respectfully submitted,
                                                    21                                            BARTH TOZER & DALY LLP
                                                    22

                                                    23                                            By    /s/ Kresta Nora Daly
                                                                                                        KRESTA NORA DALY
                                                    24                                            Attorneys for ARICELA VILLA
                                                    25

                                                    26   Dated: August 8, 2012                    By     /s/ Kresta Nora Daly
                                                                                                         MICHAEL BECKWITH
                                                    27                                                   Assistant United States Attorney
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                                                         {00006902}
                                                               STIPULATION AND [PROPOSED] ORDER                                     [Case No. 2:07-CR-00515-WBS]
                                                           Case 2:07-cr-00515-WBS Document 347 Filed 08/09/12 Page 2 of 3


                                                     1                                            ORDER

                                                     2                    IT IS SO ORDERED.

                                                     3   Dated: August 9, 2012
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B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




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                                                               STIPULATION AND [PROPOSED] ORDER                   [Case No. 2:07-CR-00515-WBS]
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B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




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                                                               STIPULATION AND [PROPOSED] ORDER                   [Case No. 2:07-CR-00515-WBS]
